Case 2:04-cr-20407-.]DB Document 30 Filed 06/02/05 Page 1 of 2 PagelD 28

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CLEHK;_'.__;.S. ols‘i'._ CT.
UN|TED STATES OF AMER|CA, w.D. ot~ tit writ-stems
P|aintiff,
VS.
CFi. NO. 04-20407-B
T.A. GRAVES,
Defendant.

 

OFiDEFi ON CONT|NUANCE AND SPEC|FY|NG PEFiiOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31, 2005. At that time, counsel for
the defendant requested a continuance of the June 6, 2005 trial date in order to allow for
medical treatment

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Nlondav. Ju|v 2__5_,_2@5, at 9:30 a.m., in Courtroom 1, 1‘lth Floor of the
Federal Bui|ding, Nlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U. S. C. § 3161 (h)( 8)(B)( iv) )because the ends of justice served in allowing for additional
time to prepare outweigh the need t a speedy tria|.
|T |S 80 OFiDEFiED this £d

E}/'Wc-ian,c>/:tJ:ne, 2005.

- iEL BREEN
This document entered on the docket sheet n coil D STATES D|STRIC\T JUDGE
with Flu|e 55 and/or 32(5) Fr'tC-:P on

 

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This notice confirms a copy ot` the document docketed as number 30 in
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Honorable .1. Breen
US DISTRICT COURT

